






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00202-CV






Austin Gurdwara Sahib, Inc. d/b/a Gurdwara Sahib Austin, Appellant


v.


John A. Bollier and Leslie J. Bollier, Appellee






FROM TRAVIS COUNTY, 353RD JUDICIAL DISTRICT

NO. D-1-GN-08-000511, HONORABLE STEPHEN YELENOSKY, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


		The parties have filed a joint motion requesting that this appeal be dismissed.  See
Tex. R. App. P. 42.1(a)(1).  We grant the motion and dismiss the appeal.

								

						__________________________________________

						Diane M. Henson, Justice

Before Justices Puryear, Henson and Goodwin

Dismissed on Joint Motion

Filed:   June 7, 2012


